               Case 1:18-cv-22923-DPG DocumentCML
JS44 (Rcv.0ó/Ì7) FLSDRcviscd06/01/2017
                                               1-4 Entered on FLSD Docket 07/19/2018 Page 1 of 1
                                                   COVER SHEBT

biiniriatingthecivil dockersheet. ¡srølrvsrRÙcnouiouutxrpAGEoFTIttsFoÂMlNOTICE:AttorneysMUSTIndicateAllRe-fÏledCasesBelow.
I. (a) PLAINTIFFS J"l.n Carpio                                                                                                   DEFENDANTS NCL Bahamas (Lrd.); D-I Davir Inrernarional, Inc.;
                                                                                                                                            Hatecke Service USA, LLC

    (b) County of Residence of First Listed Plaintiff Philippines                                                                County ofResidence ofFirst Listed Defendant
                                 (EXCEPT IN U.S. PLA]NT]FF CASES)                                                                                             (IN U,S. PLA]NTIFF C,ISES ONLY)
                                                                                                                                 NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                            THE TRACT OF LAND INVOLVED.
    (c)    Anorneys (Fitn Nane, Address, and Telepltone Nunber)                                                                   Attomeys (lf Knovn)

    Lipcon Margulies Alsina & Vy'inkleman, 2 S. Biscayne Blvd. Ste. 1776,                                                        Mase Mebane Briggs, 2601 S. Bayshore Dr., Ste. 800, Miami, FL,
    Miami, FL,33131, (305) 373-0910                                                                                              33133, (305) 377-3770 (for NCL Bahamas (Ltd.))
(d)CheckCountyWhereActionArose:                        f, vravr.o,r.or t uo¡lt<o¡               E BRoTTARD E p^LM B¡ACH B M^IìTIN O sr. LUcrE El INDI^N RIVER E oKLEcrloBEE E HIGHL^NDS

II. BASIS OF JURISDICTION (Ptace on "x" in one Box onty)                                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an "x" in one Boxþr Ptaíntíffl
                                                                                                                             (For Diversity Cases Only)                                       and One Boxfor Defendant)
tr I      U.S. Govcmment                  ,Êl                         Fcdcral Qucstion                                                                  PTF DEF                              PTF DEF
               Plaintiff                               (U.5. Governnrcnt Not a Part¡)                                 CitizcnofThisStatc                !1  El  IncorporatcdorPrincipalPlacc tr4  f]4
                                                                                                                                                                         ofBusincss In This Statc

D 2 U.S.Covcrrmcnt                         E4                          Divcrsity                                      CitizcnofAnothcrstatc l2                   J 2 IncorporatcdandPrincipalPlacc ! 5 tr 5
      Dcfcndant                                        (Indícate Citizenship ofPoilies in lten III)                                                                         ofBusiness In ADothcr Statc

                                                                                                                      CitizcnorSubjcctofa               D3       n 3 ForcignNation                               ! 6 D6
                                                                                                                           Forcign Country

IV, NATURE OF SUIT                        (Ptace an "x" in one Box onty)                                           Click hcrc for: Nalurc ofSuit Co(lc l)cscriptions
               CONTRACT                                       TORTS                         FORFEITUREIPENALTY                                                    BANKRUPTCY                          OTHER STATUTDS
tr 10 Insurancc                          PERSONAL INJURY           PERSONAL INJURY ! 625 Drug Rclatcd Scizurc                                               ü 422 Appeal 28 USC 158          E 375 Falsc Claims Act
tr 20 Marinc                          D 3lo airplanc            | 365 Pcrsonal lnjury -         ofProperty 2l USC 881                                       D 423 Withdrawal                 E 376QuiTam(31 USC
n 30 Millcr Act                       tl 315 Airplane Product           Product Liability ú 690 Othcr                                                              28 USC 157                     3't29 (a))
tr 40 Negotiablc Instrunìcnt                 Liability          fl 3ó7 rlcalth Carc/                                                                                                         tr 400 State Rcapportionmcnt
tr 50 Rccovcry olOverpaymcnt E 320 Assault, Libel &                                    Pharmaccúical                                                            PROPERTY RJGHTS              ! 4Ì 0 Antitrust
      & Enforccmcnt ofJudgmcnt     Slander                                             Pcrsonal Injury                                                      E 820 Copyrights                 E 430 Banks and Banking
Dl 5l Mcdicarc Act           n 330 Fedffal Employcrs'                                  Product Liability                                                    E 830 Patcnt                     tr 450 Commcrcc
                                                                                                                                                            n
                                                                                                                                                            u 835 Patent Abbrcviatcd
                                                                                                                                                                                             tr 460 Dcpofiation
Dl 52 Rccovery ofDefaulted         Liability                                   !    368 Asbestos Pcrsonal                                                     Ncw Drug Application
        Studcnt Loans                 E 340 Marinc                                         Injury Product                                                   E 840 Trademark                  tr 470 Racketeer Influcnccd and
        (Excl. Vcterans)              E 345 Marinc Product                                 Liabilily                                LABOR                       SOCIAL SECURITY                     Corupt Organizations
fl I 53Rccovcryofovcrpayment Liability                                             PERSON.TLPROPERTY                  nTl0FairLaborstandards ESAlfile(t:SSfÐ                                 tr 480 Consumcr Crcdit
        ofVctcran's Bcncfits          D 350 Motor Vchiclc                      [ 370 Other F¡aud            Act                                             tr 862 Black Lung (923)          tr 490 Cablc/Sat TV
     60 Stockholdcrs' Suits           D 355 MotorVehiclc                       E 371 Truth in Lcnding D 720 Labor/Mgmt. Rclations                           n 863 DIWc/DIww (40s(g))         tr 850 Sccuritics/Commoditics/
     90 Othcr Contract                      Product Liability                  n 380 Oth$ Pcßonal D 740 Railway Labor Act                                   tr 864 SSID TitIC XVI               Exchangc
     95 Cuntract Product Liability    E 360 Otho Pc$onal                             Irropcrty Dûmagc D 751 Family and Mcdical                              tr 86s RSI (a0s(g))              tr 890 Othcr Statutory Actions
     96 Franchisc                           Injury                             n 385 Property Damagc        Lcavc Act                                                                        n 891 Agricultural Acts
                                      ! 362 Pcnonal Injury -                           Product Liability              tr 790 Othcr Labor Litigation                                     [ 893 Environmcntal Mattcrs
                                                 Mcd. Malpmcticc                                                      D 791 Empl. Rct. Inc.                                             fl 895 Frccdom oflnformation
          REAL PROPERTY                          CIVIL RJGHTS                   PRISONER PETITIONS                             Sccurity Act                    FEDERALTAXSUITS Act
     210 Land Condcmnation            n 440  Other Civil Rights                   Habcas Corpus:                                                            E 870 Taxcs (U.S. Plaintitï El 896 Arbitrarion
     220 Forcclosurc                  D ¿l4l      Voting                       f] 4ó3 Alicn Dctaincc                                                              or Dcfcndant)         [ 899 Administrativc Proccdu¡c
                                                                                                                                                                    IRS-Third P^fiY 26
     230 Rcnr Lcasc & Ejccrmcnr       [ 442 Employmcnt E 311,"X:tt""t 10 vacatc                                                                             - 871
                                                                                                                                                            u usc t6o9                     AcvRcvicw or Appcal of

D 240 Torrs to Land                   u 443 Housing/
                                      ¡1
                                            Accommodalio¡rs
                                                                                       ()thcr:                                                                                                      Agency Dccision
                                                                                                                                                                                                    050 Consl¡tut¡onal¡ly ol'Slîlc
E 245 lort Product Liability          E 445 Amer. VDisabilirics - E 530 Gcncral                                                 IMMIGRATION                                                  u
                                                                                                                                                                                             -      Strtulcs
D 290 All OrhcrRcal Propcrty                      Employmcnt               n        535 Dcâth Pcnalty                 [    462 Naturalization Applìcation
                                      Ll 446 Amcr. úDisabilitics         - fl       540 Mandamus & Othcr              fl   4ó5 othcr Inrmigration
                                                 Othcr                     tr       550 Civil Rights                           Actions
                                      E 448 Education                      tr       555 Prison Condition
                                                                                    560 Civil Dctaincc
                                                                               ¡    Conditions of
                                                                                    Conñncmcnt
V. ORIGIN                    (Plerce tu   "X" in One Bot Onlt')
                                                                                                    -5 lìanslèncd                   E 6 Mulridisrrict
                                                                                                                                                            n 7 APPcal to
                                                r-r I lìc-lilcd                                                     fionl
tr I Original   o'äå'ilJ'""Î"                                     E 4 ot
                                                                      Rcinsratcd I
                                                                                                       anolhcr district                  Litigalion                                  !   8 Mutti,li.rri"r      Rcmandcd fiorn
     Procccding                                        (Scc Vl
                                                       bclorr)                 Rcopcnccl
                                                                                                         (spact[\')                      Tra¡s fcr                 Districl .ludgc          Litig¡r ion     ns Appcllalc Court
                                                                                                                                                                   lìom Magistratc              Dircct
                                                                                                                                                                   .ludsnrc¡l               Fitc

VI. RELATED/                                    (See instructions): a) Re-filed             Case trYES ú NO                              b) Relaled Cases nYES ú NO
RE-FILED CASE(S)                                                   JUDGE:                                                                                          DOCKET NUMBER:


VlI. CAUSE OF ACTION Removal to compel arbitr'¿rtion under the New York Convention 9 USC 201-08
                                                LENGTII OF TRIAL via                         tlays estinratctl ( for both sitlcs t0 try entire case)

vilr. REQUESTED lN                                   CTIECK IF TIIIS ÌS A CI-ASS ACTION
                                                                                                                           DEN,IAND $                                  CIJECK YES only ildenrantled in conrplaint
        COMPLAINT:                                   UNDER F.R.C.P. 23
                                                                                                                                                                   JURY DEN4ANDT ú                     Y..      E No
ABOVE INFORI\|AT|ON lS TRUE & CORRECT TO TllE BEST OF l\'lY Kñ.-OWI-EDCE
I)At't:                                          SICNAI'URI OF           OI: IìhCOlìD
        .lL¡lv I 9. 201 8

t.'otì ot;FtcF usfi oNt-\'
lìh('lrlPl;l                              Ätvtou^v1'                    II'P                         .rLit)ct:                                          lvl¡\C.lUI)CI:
